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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

In re:                                                §   Chapter 11 (Subchapter V)
                                                      §
FREE SPEECH SYSTEMS, LLC,                             §   Case No. 22-60043
                                                      §
         Debtor.                                      §
---------------------------------------------------   §
In re:                                                §
                                                      §
ALEXANDER E. JONES,                                   §   Case No. 22-33553
                                                      §
         Debtor.                                      §

         DEBTORS’ JOINT MOTION TO APPROVE EMPLOYMENT CONTRACT
                    PURSUANT TO 11 U.S.C. §§ 105 AND 363(b)

THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU
OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING
PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY CANNOT
AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY TO THE MOVING
PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE
DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE WHY THE
MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A TIMELY
RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT FURTHER NOTICE TO
YOU. IF YOU OPPOSE THE MOTION AND HAVE NOT REACHED AN AGREEMENT,
YOU MUST ATTEND THE HEARING. UNLESS THE PARTIES AGREE OTHERWISE,
THE COURT MAY CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE
THE MOTION AT THE HEARING.

         REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

TO THE HONORABLE CHRISTOPHER M. LOPEZ,
UNITED STATES BANKRUPTCY JUDGE:
         Alexander E. Jones (“Jones”) and Free Speech Systems, LLC (“FSS”) (collectively,

“Debtors”), as debtors and debtors-in-possession in the above-captioned Chapter 11 Cases, hereby

submit this joint motion (the “Motion”) pursuant to Sections 105 and 363(b) of the United States

Bankruptcy Code (the “Code”). In support of this Motion, Debtors respectfully represent as follows:




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                                 I.            JURISDICTION

       1.      This Court has jurisdiction over this Application pursuant to 28 U.S.C. §§ 157 and

1334(b). This matter is a core proceeding, and this Application is proper in this district pursuant

to 28 U.S.C. §§ 1408 and 1409.

       2.      The statutory bases for the relief requested herein are Sections 105 and 363(b) of

the Code.

                                 II.           BACKGROUND

       3.      Jones hosts a syndicated radio and video talk show in Austin, Texas.       FSS is a

single member LLC, 100% owned by Jones, that produces and syndicates much of the show. In

addition, FSS offers high-end dietary supplement products, books, t-shirts, and other products,

which are solely promoted and advertised by Jones during his radio and streaming video talk

shows, for online sale to customers at the Infowars web site.

       4.      FSS filed for Chapter 11 Bankruptcy under Subchapter V in the Southern District

of Texas Bankruptcy Court, Houston Division, Case No. 22-60043 (the “FSS Bankruptcy Case”)

on July 29, 2022; and Jones filed his individual chapter 11 bankruptcy case (the “Jones Bankruptcy

Case”) on December 2, 2022.

       5.      As of the filing of the FSS Bankruptcy Case and the Jones Bankruptcy Case, FSS

and Jones were parties to a prior Employment Agreement dated April 14, 2022 (“Prior

Employment Agreement”). Under the terms of the Prior Employment Agreement, Jones agreed

to produce his show on FSS’s platform in exchange for an annual salary of One Million, Three

Hundred Thousand Dollars and NO/100 ($1,300,000.00). 1 The validity of the Prior Employment

Agreement is disputed by FSS.

       6.      In or about August 2022, FSS ceased paying the full compensation as provided for


1
 Plus personal assistant costs of approximately $200,000.
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in the Prior Employment Agreement, reducing his bi-weekly compensation from $50,000.00 to

$20,000.00 (a 60% reduction). Jones maintains he is entitled to an administrative claim against

FSS for the reduction in compensation, and has filed that certain Application for Administrative

expense Claim Under §503(B)(1) (the “Admin Claim Motion”) [Dkt. No. 659]. While FSS agrees

that Jones has been undercompensated, FSS has expressed generally its disagreement as to the

amount of any administrative claim and the timing of payment of any allowed administrative

claim. Both Jones and FSS agree that a new employment agreement is necessary and appropriate

to govern the obligations between FSS and Jones on a going forward basis.

       7.      FSS and Jones seek to continue to work together going forward and have negotiated

the terms of a new employment contract, each working with and through their own separate

counsel. The proposed form of new contract is attached hereto as Exhibit “A” (the “New

Employment Agreement”).

       8.      While the Employment Agreement has a five year term beginning upon the

confirmation of the FSS plan of reorganization; Jones and FSS solely seek approval of the

Employment Contract for the interim period as described therein. Approval of the remaining five

year term shall be sought in connection with confirmation of the FSS, and possibly Hones, plans

of reorganization.

             III.           RELIEF REQUESTED AND BASIS THEREFORE

       9.      Section 363(b) of the Code authorizes a debtor-in-possession to use, sell, or lease

property of the estate other than in the ordinary course of business after notice and a hearing,

subject to bankruptcy court approval.     11 U.S.C. § 363(b). Debtors submit that the New

Employment Agreement is within the ordinary course of Debtors’ business. However, out of an

abundance of caution, Debtors seek the Court’s approval of such contract.

       10.     Furthermore, Section 105 of the Code directs that “[t]he court may issue any order,

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process, or judgment that is necessary or appropriate to carry out the provisions of this title.” 11

U.S.C. § 105. To the extent that such approval is necessary or appropriate, Debtors submit that

Section 105, in conjunction with Section 363(b), gives the Court authority to approve the New

Employment Agreement.

       11.     The New Employment Agreement provides a base salary for Jones of

$1,500,000.00, expense reimbursement, as well as incentive bonuses for increased revenue

milestones, to be applicable following confirmation of an FSS plan of reorganization.

       12.     Jones believes that entering into the New Employment Agreement will benefit the

Jones bankruptcy estate because the increased funds will allow Jones to fund additional

administrative expenses and budget for greater plan payments going forward.              The bonus

incentives for higher FSS revenues also incentivize Jones to work harder, bringing in additional

funds to the Jones estate.

       13.     FSS believes that entering into the New Employment Agreement will benefit the

FSS estate because, through negotiated terms with Jones, it provides stability and Jones’ renewed

commitment to the FSS platform. FSS submits that it benefits immensely from having Jones as

its primary talent, and that a binding contract that commits Jones to a good-faith effort to generate

revenue for FSS is necessary for the continued survival of FSS as a business.

       14.     Jones commitment to FSS is vital to FSS. When Jones is absent from FSS

broadcasts, FSS experiences gross revenue declines of as much as 40%. Furthermore, the bonus

structure, while incentivizing Jones, also results in higher revenues to FSS, bringing additional

funds to the FSS estate.

       15.     Debtors have determined in their business judgment that it is in the best interest of

their estates to enter into the New Employment Agreement. Courts should authorize business

transactions outside the ordinary course of business if debtors have exercised sound business

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judgment. See In re Lionel Corp., 722 F.2d 1063, 1071 (2d Cir.1983). Further,

       The court is expected to defer to management's views in applying the business
       judgment test. See Lubrizol Enters., Inc. v. Richmond Metal Finishers, Inc. (In re
       Richmond Metal Finishers, Inc.), 756 F.2d 1043, 1046 (4th Cir.1985); Polin v.
       Conductron Corp., 552 F.2d 797, 809 (8th Cir.1977). Only if a proposed
       transaction…does not serve business purposes may the court substitute its judgment
       for that of management. In re Richmond Metal Finishers, Inc., 756 F.2d at 1047
       (“[C]ourts should defer to-should not interfere with-decisions of corporate directors
       upon matters entrusted to their business judgment except upon a finding of bad faith
       or gross abuse of their ‘business discretion.’ ”); Computer Sales Int'l, Inc. v. Fed.
       Mogul Global, Inc. (In re Fed. Mogul Global, Inc.), 293 B.R. 124, 126
       (D.Del.2003) (“As [the business judgment test is] applied in the Third Circuit, a
       court should approve a debtor's use of assets outside the ordinary course of business
       if the debtor can demonstrate a sound business justification for the proposed
       transaction.”) (citing In re Martin, 91 F.3d 389, 396 (3d Cir.1996) (in turn citing In
       re Schipper, 933 F.2d 513, 515 (7th Cir.1991))).

In re Mirant Corp., 348 B.R. 725, 744 (Bankr. N.D.Tex. 2006).

       16.       Accordingly, while Debtors submit the New Employment Agreement to be part

of their ordinary course of business, out of an abundance of caution, Debtors seek the Court’s

approval of such contract herein. Debtors have utilized their business judgment and for the

foregoing reasons, approval of the proposed contract is in the best interest of Debtors, Debtors’

estates and creditors.

                                             IV.     NOTICE

       14.     Notice of this Motion has been provided to: (a) the Offices of the United States

Trustee; (b) Debtors’ 20 largest unsecured creditors; (c) the Debtors’ secured lenders; (d) counsel

for the Official Unsecured Creditors Committee in the Jones Bankruptcy Case; (e) counsel for the

Subchapter V Trustee in the FSS Bankruptcy Case; and (f) any notices of appearance. Debtors

submit the above notice is sufficient and that no further notice is necessary.

       WHEREFORE, Debtors respectfully request the Court enter an order authorizing Debtors’

entry into the New Employment Agreement, and for such other and further relief to which Debtors

may show themselves justly entitled.

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Dated: August 28, 2023.


CROWE & DUNLEVY, P.C.                                  LAW OFFICES OF RAY BATTAGLIA,
                                                       PLLC
By: /s/ Vickie Driver___________
Vickie L. Driver                                       /s/_Raymond Battaglia______________
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ATTORNEYS FOR ALEXANDER E.
JONES



                                 CERTIFICATE OF SERVICE

        A true and correct copy of the foregoing document was filed with the Court and served
electronically upon those parties registered to receive electronic notice via the Court’s CM/ECF system
on August 28, 2023.

                                               /s/Raymond Battaglia
                                                      Raymond W. Battaglia



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